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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   _______________________________
   SAFE STREETS ALLIANCE, et al.,         Civil Action: No. 15-349-REB-MLC
   Plaintiffs,
   v.
   ALTERNATIVE HOLISTIC
   HEALING, LLC, et al.,
   Defendants.
   ______________________________




        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT PURSUANT TO FRCP 56
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                                    STANDARD OF REVIEW

          Summary judgment is warranted under Federal Rule of Civil Procedure 56

   “if the movant shows that there is no genuine dispute as to any material fact and

   the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see

   also Anderson v.

   Liberty Lobby, Inc., 477 U.S. 242, 248–50 (1986).

          A fact is “material” if, under the relevant substantive law, it is essential to

   proper disposition of the claim. Wright v. Abbott Labs., Inc., 259 F.3d 1226,

   1231–32 (10th

   Cir. 2001). An issue is “genuine” if the evidence is such that it might lead a

   reasonable trier of fact to return a verdict for the nonmoving party. Allen v.

   Muskogee, 119 F.3d

   837, 839 (10th Cir. 1997).

          In analyzing a motion for summary judgment, a court must view the

   evidence and all reasonable inferences therefrom in the light most favorable to

   the nonmoving party. Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir.

   1998) (citing Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.

   574, 587 (1986)). In addition, the Court must resolve factual ambiguities against

   the moving party, thus favoring the right to a trial. See Houston v. Nat’l Gen. Ins.

   Co., 817 F.2d 83, 85 (10th Cir. 1987).




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          However, “conclusory and self-serving statements are insufficient to

   survive summary judgment.” Ford v. West, 222 F.3d 767, 777 (10th Cir. 2000).

   Likewise, “general denials, or mere argument of an opposing party’s case cannot

   be utilized to avoid summary judgment,” Pasternak v. Lear Petroleum Expl., Inc.,

   790 F.2d 828, 834

   (10th Cir. 1986), and “[v]ague, conclusory statements do not suffice to create a

   genuine issue of material fact.” Ford, 222. F.3d at 777.

          Rather, “[t]o survive summary judgment, a nonmoving party must set forth

   specific facts showing that there is a genuine issue for trial as to those dispositive

   matters for which he carries the burden of proof.” Christy v. Travelers Indem. Co.

   of Am., 810 F.3d 1220, 1233 (10th Cir. 2016) (internal quotation marks omitted).

   The Court is not obliged to “comb the record” to identify factual disputes or make

   a party’s case for it. Ford, 222 F.3d at 777. A party who does not have the

   burden of proof at trial must show the absence of a genuine fact issue. Concrete

   Works, Inc. v. City & County of Denver, 36 F.3d 1513, 1517 (10th Cir. 1994),

   cert. denied, 115 S.Ct. 1315 (1995).

                 STATEMENT OF UNDISPUTED MATERIAL FACTS1

1. The property abutting the Defendants’ land, whose legal description is LOT 1

   THE MEADOWS AT LEGACY RANCH FORMERLY #46-000-00-045 + 049 +




   1Defendants state that these facts are undisputed solely for the purpose of this Motion.
   Defendants reserve the right to dispute each of these facts during any future
   proceedings, including at trial.
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   090 + 221 + 56-000-00-025 (“Lot 1”), was purchased by the Plaintiffs in 2014 for

   $35,000. See Exhibit A, Reilly Lot 1 Tax Valuation page 2.

2. The Plaintiffs purchased the property known as LOT 2 THE MEADOWS AT

   LEGACY RANCH FORMERLY #46-000-00-045 + 049 + 090 +221 + 56-000-00-

   025(“Lot 2”) in 2011 for $34,900. Id at 10.

3. The Defendant purchased his property, known as 33-24-66 NE4 NW4

   FORMERLY 46-000-00-155 (“6480”) for $44,900 in 2014. Id at 20.

4. Lot 1 abuts 6480, and does not contain any buildings of any sort; the Plaintiffs

   live on Lot 2. Reilly Dep. 14:16, 17, 24, 25.

5. Lot 1 is a 35.03 acre parcel of land. Exhibit A at 1.

6. Lot 1, Lot 2, and 6480 are all zoned A-1, which is Pueblo County Zoning Code for

   Agricultural 1. Exhibit B highlights the location of Lot 1, the parties do not dispute

   that lots 1, 2, and 6480 abut each other.

7. Pursuant to Pueblo County Zoning, recreational marijuana cultivation is limited to

   zone A-1. Exhibit C at 1.

8. There is no other zone that the Defendant could have legally operated a retail

   cultivation facility. Exhibit C passim.

9. Lot 1 was valued by Pueblo County at $1522 the year which the Plaintiffs

   purchased it. Exhibit A at 7.

10. 6480, the lot which abuts Lot 1 was valued at $550 the same year, 2014. Id at

   25.

11. The Defendant obtained his license to cultivate marijuana in October, 2014.

   Exhibit G.



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12. In 2015, the year after 6480 Pickney, LLC obtained it’s recreational marijuana

   cultivation license, 6480’s lot was valued at $40,000. Exhibit A at 24.

13. In 2016, the year following completion of 6480 Pickney, LLC’s marijuana

   cultivation facility, the county assessed the value of 6480’s lot and buildings at

   $255,366, an increase of $215,366. Id at 23.

14. In the year following the issuance of 6480 Pickney LLC’s recreational marijuana

   cultivation license, 2015, Lot 1 increased in value by $129 to $1651. Id at 6.

15. In the year following the opening of 6480 Pickney LLC’s recreational marijuana

   facility, 2016, Lot 1 remained at $1651 in value according to the county. Id at 5.

16. In 2017, Lot 1 increased by $115 in value to $1766, though it was still just a plot

   of dirt in between Lot 2 and 6480’s facility. Id at 4.

17. In 2018, Lot 1 remained at $1766 in value. Id at 3,

18. In 2014, Lot 2, the lot on which the Plaintiff resides was valued by the county at

   $6816, the same valuation as the prior year, as 2013 had been the year in which

   Lot 2 was assessed a higher tax valuation. Exhibit A at 16, 17.

19. In 2015, the year after which 6480 Pickney LLC obtained its recreational

   marijuana cultivation license, Lot 2 increased in value by $127. Id at 15.

20. In 2016, the Plaintiffs’ land on Lot 2 improved to $45,466, an increase of

   $38,523. Id at 13.

21. The Plaintiffs constructed residential buildings on the property even though they

   were aware that the Defendant was operating a recreational marijuana cultivation

   facility, as they had attended the meeting where the public could comment on the




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   Defendant obtaining a marijuana cultivation license. Reilly Dep.

   26:2,3,7,8,15,16,17,18.

22. In 2017, 3 years after the Plaintiffs filed a lawsuit alleging that their property value

   had been damaged by the Defendants’ activities, Pueblo County assessed the

   Plaintiffs’ property on Lot 2 at $140,340 – an increase in value of $94,874. Exhibit

   A at 12.

23. In 2018, three years after the Plaintiffs filed a lawsuit claiming that the

   Defendants’ activities damaged their property values, and 3 years after the

   Defendants’ recreational marijuana cultivation facility had been operational, the

   Plaintiffs property remained valued at $140,340, as the county does not increase

   property values in subsequent years barring changes to the property. Exhibit A

   at 11.

24. At no point since the Defendant bought his property has the Plaintiffs’ property

   decreased in value according to Pueblo County. Exhibit A 1-18.

25. At no point since the Defendant obtained his recreational marijuana cultivation

   license has the Plaintiffs’ property decreased in value pursuant to county

   appraisal figures. Id.

26. At no point since the Defendant began operating his recreational marijuana

   cultivation facility has the Plaintiffs’ property decreased in value pursuant to

   county appraisal figures. Id.

27. Each year since the Defendant has possessed his recreational marijuana

   license, the Plaintiffs’ property has either increased or remained the same in

   value pursuant to county appraisal records. Id.



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28. Each year since the Defendant has operated his recreational marijuana

   cultivation facility the Plaintiffs’ property has increased or remained the same in

   value. Id.

29. The Plaintiffs’ own expert admits that the properties referred to as Lots 1 and 2

   have increased in value. Reilly’s expert report at 9.

30. The Plaintiffs have never tried to sell the property. Reilly Dep. 15:18,19.

31. The Plaintiffs have never had the property appraised. Reilly Dep. 15: 23-25.

32. The Plaintiffs’ expert is not a trained property appraiser. Plaintiff’s Expert Report

   at 2,3.

33. The Plaintiffs’ expert has never served as an expert witness related to property

   appraisal. Id at 19.

34. The Plaintiffs’ expert has never been to the Plaintiffs’ nor Defendants’ properties.

   Id at 2.

35. The Plaintiffs’ expert did not perform a traffic analysis of the traffic experienced

   by the Plaintiffs. Id.

36. The Plaintiffs expert did not conduct any sort of odor impact study on the

   properties in question. Id.

37. The Plaintiffs did not retain any expert other than Dr. Billups.

38. Therefore, there are not forthcoming reports from someone qualified to appraise

   property.

39. There are no reports forthcoming to substantiate the Plaintiffs concerns that they

   have an odor issue related to the Defendants’ activities.




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40. According to the Colorado Department of Public Health and Environment, an

   odor reading is defined as two measurements of odor concentration separated by

   at least 15 minutes but no longer than 60 minutes at each of the three locations.

   Both measurements at or beyond the property line must be 7:1 to be considered

   a reportable violation of the property line odor standard. If a violation of the 7:1

   standard is obtained the producer must report the violation to the Ag Program

   and the local health department within two hours. A phone message or an email

   is considered adequate notification, if the inspector cannot be reached in person.

   Exhibit D at 2 (The Defendants’ odor expert refers to this document as Exhibit 1

   in her report).

41. The Defendants’ expert uses one of two approved mechanisms for determining,

   objectively and scientifically, whether there is an odor present in Colorado.

   Exhibit E at 1.

42. The Plaintiffs did not retain an expert who performs odor testing using either

   method.

43. Therefore, the Plaintiffs can only introduce lay testimony as to the presence of an

   injury, whereas Colorado has threshold standards for odor nuisances. Exhibit E

   at 4.

44. Chart showing land valuation for each plot according to Pueblo County

   Assessor’s office:




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                2014              2015           2016           2017              2018

Lot 1           $1522             $1651          $165           $1766             $1766

                                                 1

Lot 2           $6816             $6943          $454           $140340           $140340

                                                 66

6480            $550              $40000         $255           $251645           $251645

                                                 366




45. In the Second Amended Complaint, Count I, II, V, and VI relate to the remaining

   Defendants. See Second Amended Complaint.

46. The damages alleged in Counts I, II, V, and VI contain theories of recovery

   based on this theory: “noxious smells to travel onto [Plaintiffs’] property,

   interfering with its use and enjoyment, diminishing its market value, and making it

   more difficult to sell.” See Second Amended Complaint at 35 (Count I), 39 (Count

   II), 45 (Count V), 47 (Count VI).

47. None of the theories of recovery relate to any other activity lessening the value of

   the Plaintiffs property. Id.

                                           ARGUMENT

          Only three types of damages are available to Plaintiffs and the Plaintiffs do

   not have sufficient evidence to create a genuine issue of material fact on any of

   the three.




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            We therefore conclude that the Reillys can, at most, presently recover only

    for three types of property injuries that were plausibly pled in their Second

    Amended Complaint: (1) the interference with the Reillys' use and enjoyment of

    their land caused by the noxious odors emanating from the Marijuana Growers'

    operation; (2) the diminution in the land's value presently caused by those odors;

    and (3) the diminution in the land's value presently caused by the existence of that

    publicly disclosed, ongoing criminal enterprise adjacent to the Reillys' land.

    Consequently, we affirm the district court's order dismissing the Reillys' RICO

    claims premised on any other type of injury.

         Safe Streets All. v. Hickenlooper, 859 F.3d 865, 889 (10th Cir. 2017)

    I.      The Plaintiffs have no evidence that noxious odors exist on their

    property, and the Defendants’ expert conclusively proves otherwise

         The Defendant is entitled to summary judgment because the Plaintiffs have

    not, cannot, and will not be able to prove that there is an odor arising from the

    Defendants property, and therefore cannot claim that they are damaged by the

    Defendants’ legal activities. The Defendants’ expert objectively asserts in her

    report that at no point

         In a private nuisance action, the plaintiff must establish that the defendant

    unreasonably interfered with the use and enjoyment of his property. Miller v.

    Carnation Co., 33 Colo.App. 62, 516 P.2d 661 (1973). Additionally, the

    interference which occurs must be substantial in nature in that it would be

    offensive or cause inconvenience or annoyance to a reasonable person in the


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    community. Northwest Water Corp. v. Pennetta, 29 Colo.App. 1, 479 P.2d 398

    (1970). Liability for nuisance may rest upon any one of three types of conduct: an

    intentional invasion of a person's interest; a negligent invasion of a person's

    interest; or, conduct so dangerous to life or property and so abnormal or out-of-

    place in its surroundings as to fall within the principles of strict liability. Baughman

    v. Cosler, 169 Colo. 534, 459 P.2d 294 (1969). Haas v. Lavin, 625 F.2d 1384,

    1389 (10th Cir. 1980).

           The interference alleged by the Plaintiffs is shared by none of the

    Defendants’ neighbors. The Plaintiffs themselves have never reported the

    Defendant for an odor violation. None of the Defendants’ neighbors have

    reported 6480 Pickney, LLC for an odor violation. The business is licensed by

    both the County of Pueblo and the State of Colorado, and has been approved

    since 2014. The Plaintiff herself describes the odor produced by the Defendants’

    legal, licensed, marijuana operation as “faint” and “intermittent.” Reilly Dep at

    21:18, 19. The Plaintiff also says that the odor they allege to be produced by the

    Defendant is not “persistent.” Id at 21:17. The standards for nuisance under

    Colorado law require that the interference is substantial. An odor which is not

    ever present, doesn’t cause health concerns, and arises near the Plaintiffs’

    dumpster is the opposite of substantial, in fact, it is frivolous.

           The Defendants’ odor expert took readings at 20 separate locations

    around the Defendants’ property. Exhibit D at 3. The odor is described as “faint”

    and “intermittent” by the Defendants’ expert. Id at 7. The Defendants’ expert

    concludes her report by saying that “no discernible cannabis odor was detected

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    outside of the facility and is barely recognizable past the perimeter of the

    CANNACRAFT property and should not adversely affect the surrounding

    community.” Id at 7. What’s important for this court to examine related to the

    experts report though is that objective standards in Colorado in fact exist related

    to odor as perceived through the same technology that the Defendants’ expert

    used – one of only two methods accepted by the Colorado Department of Health

    and Environment, the state agency in charge of addressing nuisance odors.

       According to The Colorado Department of Public Health and Environment, An

    odor reading is defined as two measurements of odor concentration separated by

    at least 15 minutes but no longer than 60 minutes at each of the three locations.

    Exhibit D at 2. Both measurements at or beyond the property line must be 7:1 to

    be considered a reportable violation of the property line odor standard. Exhibit D

    at 2 If a violation of the 7:1 standard is obtained the producer must report the

    violation to the Ag Program and the local health department within two hours.

    Exhibit D at 2. A phone message or an email is considered adequate notification,

    if the inspector cannot be reached in person. Exhibit D at 2 (The Defendants’

    odor expert refers to this document as Exhibit 1 in her report).

       Here, the Defendants’ odor expert never detected an odor greater than 2:1,

    despite testing 20 locations over multiple days. Exhibit D at 5-7. In fact, all

    findings of odor were below the lowest threshold for a result, meaning that the

    odor was barely, if ever, noticeable with a bare nose. Exhibit D at 7.




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             Because the Plaintiffs have failed to introduce any objective or scientific

          evidence related to their odor claims, summary judgment must be granted for the

          Defendants.

II.       The Plaintiffs have no competent evidence their property value diminished.

             The Defendant is entitled to Summary Judgment because all experts in the

          case, including the Plaintiff’s expert agree that the property has increased in

          value, and the 10th circuit held in its remand order that speculative damages

          could not be considered in this case.Therefore, any attempts by the Plaintiff’s

          expert to discuss future damages based on things that “may” or “could” occur

          cannot be considered by this court. As the Plaintiff’s expert agrees with the

          Defendants’ expert that the property, contemporaneous with this motion for

          summary judgment, has in fact increased in value, and as the 10th circuit held

          that the Plaintiffs could only recover for a diminution in land value, and not

          speculative damages, “a plaintiff cannot recover for emotional, personal, or

          speculative future injuries under § 1964(c). See RJR, 136 S.Ct. at 2108.” Safe

          Streets All. v. Hickenlooper, 859 F.3d 865, 888–89 (10th Cir. 2017). Here,

          granting summary Judgment for the Defendant can be the only proper outcome

          in this case.

             Defendants’ experts have conclusively proved that Defendants’ activities have

          increased the value of Plaintiff’s land, which was and is undeveloped. Plaintiffs

          have no cognizable injury: they admit that they have never had their property

          appraised, nor have they ever attempted to sell the property. The Plaintiffs admit

          that they have never had their property appraised, and that they have never tried

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    to sell their property. Reilly Dep. 15:18,19,.23-25. The Plaintiff’s expert is not

    qualified in property valuation, has no sort of methodology for his assertions that

    the property has decreased in value, and perplexingly assets that the value of the

    3 properties is $240,855. Reilly’s expert report at 9. As Plaintiff’s own expert

    admits, even through faulty methodology, the Plaintiff’s three properties have

    increased in value, from $112,036 at purchase time to $240,855. Id. The

    Plaintiffs have never had the property appraised by a real estate appraiser, nor

    have they tried to sell the property – all damages alleged in the complaint are

    speculative, no non-speculative damages can be raised now that the disclosure

    deadline has passed, and summary judgment for the Defendant is the property

    remedy in this case. The Plaintiffs Theory of recovery is one that odor has

    damaged the property value, and the Plaintiffs have presented no evidence that

    odor is even existent on the property. The only evidence that this

    III.      Because the highest and best use of the Plaintiffs’ land is that of a

    marijuana grow, Defendants’ operation actually increases the Plaintiffs’

    property value.

           Summary judgment is appropriate where the Plaintiffs have not and will not

    introduce any evidence related to the best use of the Plaintiffs’ and Defendants’

    property. The Defendants have introduced evidence related to the best use of

    this kind of property from an expert, the expert has been qualified in this field in

    this court, and the expert states that the highest and best use of the Plaintiffs

    property is to be used as a Marijuana Cultivation operation. Exhibit F at 32.




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    Defendants’ uncontroverted evidence is overwhelming, the Plaintiffs have

    presented and can offer no evidence otherwise to rebut.

        The four factors to be used in determining a property's highest and best use

    are legal permissibility, physical possibility, financial feasibility, and maximal

    productivity. See Appraisal Institute, The Appraisal of Real Estate 280 (14th ed.

    2013). Bd. of Cty. Commissioners of Cty. of Weld v. DPG Farms, LLC, 2017

    COA 83, ¶ 13. Here, it is uncontroverted that for the purposes of land valuation,

    using the Plaintiffs property as a marijuana cultivation facility is legally

    permissible, as the Defendant has been issued both state and county licenses to

    cultivate marijuana on his property. It is uncontroverted that it is physically

    possible to do so on the property, as the Defendants’ property is contiguous to

    the Plaintiffs’ property. It is likely financially feasible for the Plaintiffs to start a

    marijuana company, as the costs to entry are not significant. Lastly, the

    maximum productivity of the land is indisputably marijuana cultivation, as the kind

    of land which the Plaintiffs reside on and own next to the Defendants’ plot is one

    of two kinds of agricultural zoning that has been approved by the county for

    recreational marijuana cultivation. While non-contiguous cultivation is allowed in

    two other zoning districts, out of the four agricultural zoning areas recognized by

    Pueblo County, stand-alone recreational grows are only permitted on A-1 and A-

    2 zoned properties. Exhibit C at 1,5,6, 8, 12, 18, 22, 25. If the Plaintiffs wanted to

    purchase land where the highest and best use of an agricultural property was not

    that of a marijuana cultivation operation, they could have purchased an A-3 or A-




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    4 lot, which do not allow marijuana cultivation, but do allow other equestrian

    activities. Id at 5-6.

                                        CONCLUSION

           The Plaintiff’s theory of recovery is that “noxious odor” created by the

    Defendants’ licensed marijuana business decreased their property value,

    decreased the Plaintiffs’ use and enjoyment, and made the property more difficult

    to sell. The Defendants have conclusively proved that there were no odors

    entering the Plaintiffs’ property, the recorded odors on the Defendants’ property

    fell far below Colorado standards for nuisance, and the Plaintiffs themselves

    admit that they have never tried to sell their property. As there is no theory of

    recovery under which the Plaintiffs can succeed, granting motion for summary

    judgment in favor of the Defendants is the logical conclusion to this complaint.

       WHEREFORE, the Defendants pray for an order granting summary judgment

    for the defendants, and request a hearing on attorneys’ fees and costs pursuant

    to FRCP rule 56.

    DATED: June 7, 2018

                                                                            /S Matthew W Buck
                                                                    Attorney for the Defendants
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                                 CERTIFICATE OF SERVICE

    I, Matthew W. Buck, hereby certify that I served the foregoing motion on opposing
    counsel via the court’s ECF system on June 7, 2018.



                                                                       /S Matthew W Buck




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